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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )
       v.                                   )       Case No. 10-CR-084--RAW
                                            )
MARVIN LORNELL VEALY,                       )
                                            )
              Defendant.                    )

                                  NOTICE OF DISMISSAL

       COMES NOW the plaintiff, United States of America, by and through United States Attorney

Mark F. Green and Assistant United States Attorney Christopher J. Wilson, and dismisses the

Indictment returned on December 8, 2010, as to the defendant MARVIN LORNELL VEALY, pursuant

to Rule 48(a) of the Federal Rules of Criminal Procedure.

                                                    MARK F. GREEN
                                                    United States Attorney


                                                    s/ Christopher J. Wilson
                                                    CHRISTOPHER J. WILSON, OBA# 13801
                                                    Assistant United States Attorney
                                                    1200 West Okmulgee
                                                    Muskogee, OK 74401
                                                    Telephone: (918) 684-5100
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LEAVE GRANTED FOR FILING:


Dated this 7th day of August, 2012.


                                         j4h4i0
